106 F.3d 395
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Arthur Mcdorn WILLIAMS, Plaintiff-Appellant,v.Jennings MCABEE;  Herbert B. Long;  Julius H. Baggett;Frank Harrison;  Mcabee Building Supply,Incorporated, Defendants-Appellees.
    No. 96-7117.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 9, 1997.Decided Jan. 23, 1997.
    
      Appeal from the United States District Court for the District of South Carolina, at Rock Hill.  Dennis W. Shedd, District Judge.  (CA-95-3555-0-19BD)
      Arthur McDorn Williams, Appellant Pro Se.
      Before HALL and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Williams v. McAbee, No. CA-95-3555-0-19BD (D.S.C. June 14, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    